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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                                            Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                                   Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                           Debtor.
--------------------------------------------------------------x

    MOTION FOR THE ENTRY OF AN ORDER, PURSUANT TO 11 U.S.C. §§ 105(a), 541,
     542 AND 721, AUTHORIZING THE CHAPTER 7 TRUSTEE TO OPERATE THE
      DEBTOR’S BUSINESS AND PAY CERTAIN OPERATING EXPENSES OF THE
      ESTATE, TO DIRECT THE TURNOVER OF PROPERTY OF THE DEBTOR’S
                    ESTATE AND FRANTING RELATED RELIEF

TO THE HONORABLE MARTIN GLENN,
UNITED STATES BANKRUPTCY JUDGE:

           Salvatore LaMonica, solely in his capacity as interim Chapter 7 Trustee (“Trustee”) of

BMT Designers & Planners, Inc., fdba BMT D&P, fdba BMT, fdba BMT DAS US (“Debtor”)

estate (“Estate”), by his proposed counsel, LaMonica Herbst & Maniscalco, LLP (“LHM”) 1,

submits this motion (“Motion”) seeking the entry of an Order, pursuant to 11 U.S.C. §§ 105(a),

541, 542 and 721 (“Bankruptcy Code”), authorizing the Trustee to operate the Debtor’s business

and pay certain expenses on an interim basis from funds in the Estate to wind down the Debtor’s

operations, collect the substantial accounts receivable, preserve the Debtor’s books and records

and other assets and direct the turnover of property of the Estate as set forth herein, nunc pro tunc

to February 2, 2022 through and including May 2, 2022, without prejudice to seek to further extend

such time, and for related relief, and respectfully represents as follows:




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    LHM’s application is currently under review by the Office of the United States Trustee.

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                                PRELIMINARY STATEMENT

       1.      The relief sought in this Motion is a critical step in the Trustee gaining control over

the administration of the Estate, as well as the marshalling and liquidating the Debtor’s assets in

an efficient and effective manner.

       2.      Prior to the bankruptcy filing, the Debtor operated as a maritime-oriented high-end

design house and technical consulting firm and provided engineering and consulting services under

various service contracts, many of which were with the branches of the United States Military (i.e.

United States Army, Navy and Coast Guard). Indeed, much of the Debtor’s business involved

commercial and military vessels design under existing government contracts, which also required

the engagement of multiple subcontractors by the Debtor under various subcontractor agreements.

       3.      The Trustee has been advised that there is approximately $4 million in outstanding

accounts receivable owed to the Estate on account of these contracts. To that end, the Trustee seeks

to hire former officers and employees of the Debtor to assist with, not only the collection of these

outstanding accounts receivable, but also to advise the Trustee on the status of the existing

contracts with the government and the related subcontracts. In this regard, the Trustee has been

contacted by multiple contractors and subcontractors seeking to know the disposition of the

Debtor’s existing contracts. If the Court grants the relief requested herein, the Trustee, in

consultation with the Debtor’s former officers, will properly analyze the current disposition of

these contracts and determine which may have value and which ones can be abandoned or disposed

of in some other appropriate manner.

       4.      Moreover, as explained in further detail below, the bulk of the Debtor’s books and

records are stored electronically and hosted on various platforms, which are accessed only through

the purchase of exclusive license agreements. The Trustee seeks to extend, for an interim period,



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one such licensing agreement with Deltek Inc. (“Deltek”), which currently hosts all of the Debtor’s

accounting records needed to generate invoices for the collection of the outstanding receivables.

The current contract is set to expire in March 2022, which will then terminate the Debtor’s access

to the platform effectively losing all of the Debtor’s information. In addition, the Trustee is in the

process of transitioning all of the Debtor’s other electronic records that were located on its servers

(i.e. employee and financial records, information about government contracts and electronic mail)

to a third party host, Cyber Health, that will maintain this critical information throughout the

administration of the Estate as the Trustee deems necessary.

       5.      Lastly, but equally as important, each of the Debtor’s 180 employees, the majority

of whom worked remotely, have a laptop in their possession. The laptops are property of the

Debtor’s estate pursuant to Bankruptcy Code sections 541 and 542. The Trustee has been advised

that most of these laptops contain “Controlled Unclassified Information” (“CUI”). This type of

information is regulated and restricted by the Department of Defense, which enforces the control

over the dissemination and destruction of such CUI.

       6.      Therefore, to ensure that none of the CUI is improperly disseminated, the Trustee

seeks the immediate turnover of any and all of the Debtor’s laptops in the possession, custody or

control of any former employee or any other third party. In connection with this process the Trustee

may incur a cost to take possession of the laptops, but there are sufficient and available funds in

the Estate to cover these projected costs.

       7.      Based on the foregoing, and for the reasons set forth herein, the Trustee seeks the

entry of an Order, pursuant to Bankruptcy Code sections 105, 541, 542 and 721: i) authorizing the

Trustee to operate the Debtor’s business to wind down operations through the employment of the

Debtor’s former employees as independent contractors of the Estate; ii) allowing the Trustee to



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keep the Debtor’s Operating Account (defined herein) open for an interim period of time with the

Trustee maintaining control over the account; iii) authorizing the Trustee to enter into agreements

to secure and preserve the Debtor’s electronic books and record, and to pay the related expenses;

and iv) directing the immediate turnover of any and all the Debtor’s laptops in the possession,

custody or control of any former employee or any other third party.

                                  JURISDICTION AND VENUE

        8.      The United States Bankruptcy Court, Southern District of New York (“Court”) has

jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b).

        9.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          BACKGROUND

A.      Procedural Background

        10.     On February 1, 2022 (“Filing Date”), the Debtor filed a voluntary petition for relief

pursuant to Chapter 7 of the Bankruptcy Code in the Court.

        11.     Salvatore LaMonica was appointed as the interim Chapter 7 Trustee of the Debtor’s

estate, and is currently acting in that capacity.

        12.     The Debtor’s meeting of creditors, pursuant to Bankruptcy Code section 341, is

scheduled for February 24, 2022.

        13.     The Debtor’s headquarters are located at 2900 South Quincy Street, Suite 210,

Arlington, Virginia 22206.

        14.     The Debtor ceased operations on January 31, 2022.




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B.     The Collection of Accounts Receivable and the Debtor’s Existing Contracts

       15.     Since his appointment, the Trustee, and his proposed professionals, have been in

communication with the former officers of the Debtor’s company to ensure a smooth and efficient

winddown of the Debtor’s operations. To that end, the Trustee has been advised that there is

possibly $4 million of outstanding accounts receivable owed to the Estate. In addition, there is

about $1 million of work in progress from January, 2022, all of which can be generated into

accounts receivable for the benefit of the Estate and its creditors.

       16.     Significantly, there is no secured creditor asserting a lien in and to any of the

Debtor’s assets to the Trustee’s knowledge and understanding. There is, however, approximately

$10 million of general unsecured debt according to the Debtor’s petition and schedules.

       17.     In a separate application, the Trustee seeks to retain LHM as his general counsel to

assist the Trustee in his efforts to collect the accounts receivable. The Trustee, in his business

judgment, has determined that the most efficient way to collect these outstanding accounts

receivable is to hire former officers and employees of the Debtor, who have personal knowledge

about these accounts receivable and the services rendered by the Debtor before the bankruptcy

filing. As set forth above, the Debtor has multiple service contracts with branches of the U.S.

Military that were in existence at the time of the filing. The Trustee, in consultation with the

Debtor’s former employees, needs to analyze each of them to determine the most effective and

prudent manner to dispose of these contracts.

       18.     Therefore, the Trustee, at this time, seeks to retain, as independent contractors, on

an hourly basis, the Debtor’s President, Chief Financial Officer, Vice President of Contracts, and

bookkeeper. The Trustee has determined that each of these individuals can contribute a unique and

important role in assisting the Trustee with marshalling and liquidating the Debtor’s assets, as well



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as assisting in the wind down the Debtor’s operations in the most efficient way possible. Each of

the former employees have agreed to perform services on behalf of the Estate subject to Court

approval.

       19.     Accordingly, the Trustee respectfully requests that Court authorize the Trustee to

operate the Debtor’s business to wind down its operation through the employment of these former

officers and employees as independent contractors of the Estate and allow the Trustee to hire any

other former employee as the Trustee, in his business judgment, deems necessary during the wind

down of operations.

C.     The Debtor’s Operating Account at Truist Bank

       20.     Prior to the Filing Date, the Debtor maintained its primary operating account

(“Operating Account”) at Truist Bank (“Truist”). Most, if not all, of the Debtor’s accounts

receivable were paid directly into the Debtor’s Operating Account at Truist either by ACH

payments or direct wire transfers.

       21.     As of the Filing Date, there was approximately $350,000 in the Debtor’s Operating

Account. Since the Filing Date, LH&M has assisted the Trustee in the collection of an additional

$400,000 that has now been paid into the Debtor’s Operating Account. Upon his appointment, the

Trustee directed those funds to be swept into the Estate’s account. As of the date of this Motion,

the Trustee is currently holding $855,000 in the Estate account.

       22.     Moreover, the Trustee has been advised by the Debtor’s Chief Financial Officer

that there are likely additional pending payments scheduled to be paid into the Debtor’s Operating

Account via wire transfer or ACH payments from existing contracts.

       23.     As of the date of this Motion, the Trustee is in the process of becoming a signatory

on the Debtor’s Operating Account at Truist with the ability to monitor the account and sweep any



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funds into the Estate account. The Trustee hopes to have this transition complete before the hearing

on this Motion.

       24.     Accordingly, the Trustee respectfully requests that the Court allow the Trustee to

keep the Debtor’s Operating Account at Truist open for an interim period of time with the Trustee

maintaining control over the account.

D.     The Preservation of the Debtor’s Books and Records

       25.     As the Court is aware, the Trustee has an obligation to preserve and maintain all of

the Debtor’s books and records throughout the administration of the Estate. As with most of the

industries today, the majority of the Debtor’s books and records, including all of its accounting

information needed for the collection of the accounts receivable, is hosted on a web-based

platform—Deltek.

       26.     Prior to bankruptcy filing, the Debtor purchased 180 licenses annually from Deltek

that allowed the Debtor to utilize and store all of its accounting records and generate all of its

billing through this platform. The annual cost for these licenses was approximately $110,000, and

the current existing contract is set to expire on March 31, 2022. It is important to note that once

the licenses expire, the Trustee will be unable to access any of the Debtor’s accounting information

on the Deltek platform. Also noteworthy, the Trustee cannot remove this financial information

from such platform because of Deltek’s exclusive licensing rights.

       27.     The Trustee was able to negotiate an extension of the existing contract with Deltek

at a reduced rate to ensure the financial records are preserved. Specifically, Deltek has agreed to

issue 5 new licenses to the Trustee with the same pre-petition services for a period of six-months

for a flat rate of $15,000 (with the ability to further extend the contract) subject to Court approval.

The Trustee submits that it is imperative to preserve access to these records, not only to collect the



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outstanding accounts receivable, but also to perform his investigation in to the Debtor’s pre-

petition activities and its financials.

         28.     Similarly, the Debtor’s Microsoft Office 365 system was hosted through other web-

based services and the shared hard drive was backed up and maintained in the Debtor’s cloud. The

Trustee has been notified by these web-based services that they will terminate at the end of this

month.

         29.     The Trustee has begun the process of migrating all of the Debtor’s books and

records (i.e. employee and financial records, the existing contracts and electronic mail) on the

shared drive of the server, as well as those stores on the Microsoft Office 365 system to a third-

party host-Cyber Health. 2 Cyber Health has agreed to transition all of the Debtor’s electronic

information over to this system for a flat rate of $5,000. In addition, the Trustee will pay a monthly

fee to maintain the Debtor’s electronic records at Cyber Health on a going forward basis.

         30.     Once again, the Trustee submits that it is imperative to preserve access to these

records, to perform his investigation in and to the Debtor’s pre-petition activities and its financials.

         31.     Based upon the foregoing, the Trustee respectfully requests that the Court authorize

the Trustee to i) enter into an agreement with Deltek and pay them a flat rate of $15,000 for five

licenses to access their platform for a six-month period (without prejudice to extend the contract

further); and ii) the enter into an agreement with Cyber Health and pay them a flat rate of $5,000

to transition over the Debtor’s books and records and to pay the negotiated monthly fee.

E.       Turnover of Property of the Debtor’s Estate

         32.     Lastly, the Trustee has been advised that each of the Debtor’s 180 employees have

a laptop in his/her possession. As set forth above most of these laptops contain CUI, which is


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  Cyber Health was the Debtor’s cyber security provider prior to the bankruptcy proceeding, and has been
instrumental in preserving these records.

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regulated and restricted by the Department of Defense when it comes to the dissemination and

destruction of CUI.

       33.     The Trustee, with the assistance of the former employees, has the list of all the

employees and their respective contact information. To ensure that this information is not

disseminated incorrectly, the Trustee respectfully requests that the Court enter an Order directing

the turnover of any and all laptops in the possession, custody or control of former employees and/or

any third-party.

                      RELIEF REQUESTED AND BASIS FOR RELIEF

       34.     By the Motion the Trustee seeks the entry of an Order, pursuant to Bankruptcy

Code sections 105(a), 541, 542 and 721: i) authorizing the Trustee to hire the Debtor’s former

employees as independent contractors of the Estate; ii) authorizing the Trustee to hire any other

former employee solely in the capacity as an independent contractor as the Trustee deems

necessary to effectuate the wind down; iii) allowing the Trustee to keep the Debtor’s Operating

Account at Truist open for an interim period of time with the Trustee maintaining control over the

account; iv) authorizing the Trustee to secure and preserve the Debtor’s electronic books and

record, and to pay the related expenses as required; and v) directing the immediate turnover of any

and all the Debtor’s laptops in the possession, custody or control of any former employee and/or

third-party.

A.     Bankruptcy Code Section 721

       35.     Pursuant to Bankruptcy Code section 721, the Court “may authorize the trustee to

operate the business of the debtor for a limited period, if such operation is in the best interest of

the estate and consistent with the orderly liquidation of the estate.” 11 U.S.C. § 721. Pursuant to




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Bankruptcy Code section 105(a), the Court “may issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

         36.   A line of well-established cases supports the relief requested herein. See, e.g.,

Miltenberger v. Logansport Ry., 106 U.S. 286, 312 (1882) (payment of pre-receivership claim

prior to reorganization permitted to prevent “stoppage of [crucial] business relations”); Dudley v.

Mealey, 147 F.2d 268 (2d Cir. 1945), cert. denied, 325 U.S. 873 (1945) (Second Circuit extends

doctrine for payment of prepetition claims beyond railroad reorganization cases); B & W Enters.,

Inc. v. Goodman Oil Co. (In re B & W Enters., Inc.), 713 F.2d 534 (9th Cir. 1983); Michigan

Bureau of Workers’ Disability Compensation v. Chateaugay Corp. (In re Chateaugay Corp.), 80

B.R. 279, 285-86 (S.D.N.Y. 1987), appeal dismissed, 838 F.2d 59 (2d Cir. 1988) (approving lower

court order authorizing payment of prepetition wages, salaries, expenses, and benefits); In re

Boston & Me. Corp., 634 F.2d 1359, 1382 (1st Cir. 1980) (recognizing the existence of a judicial

power to authorize trustees to pay claims for goods and services that are indispensably necessary

to debtors’ continued operation); In re Ionosphere Clubs, Inc., 98 B.R. 174, 177 (Bankr. S.D.N.Y.

1989).

         37.   The Trustee submits that it is in the best interest of the Estate for the Trustee to

operate the Debtor’s business, on a limited basis, and to hire the Debtor’s former employees solely

in the capacity as independent contractors to assist with the collection of the accounts receivable

and other related tasks pertinent to a wind down of the Debtor’s operations. Indeed, the quicker

the Trustee begins to review the existing contracts and collect these accounts receivable the more

effective his efforts will be. Conversely, the longer these accounts receivables go uncollected the

less likely the Trustee will be able to monetize them.




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       38.     To that end, the Trustee also seeks authority to keep the Debtor’s Operating

Account at Truist open for an interim period of time with the Trustee as signatory with the authority

to sweep any funds into the Estate account while pending accounts receivable are being paid into

the Operating Account to ensure none of them get rejected from the account being closed.

       39.     Moreover, the Trustee has an obligation to secure and preserve the Debtor’s books

and records. In this instance, almost of the Debtor’s books and records, including its financial

records and all of its electronic mail, are stored electronically on multiple platforms. The Trustee

respectfully requests an Order from the Court authorizing him to enter into a contract with i) Deltek

to access to the Debtor’s financial records for an interim period to, among other things, collect the

outstanding accounts receivable, and ii) Cyber Health to ensure the safe transition and maintenance

of the Debtor’s other electronic records, including, but not limited to, historic financial records,

the Debtor’s electronic mail and employee records.

       40.     Accordingly, it is in the best interest of the Estate and its creditors that the Trustee

be granted authorization to operate the Debtor’s business solely to wind down the Debtor’s

operations and pay the necessary expenses related thereto, including, but not limited to, payments

to the former employees and the fees related to the preservation of the Debtor’s records.

       41.     For these reasons, the Trustee respectfully submits that the Court authorize him to

operate the Debtor’s business and pay certain necessary expenses on an interim basis, nunc pro

tunc, to February 2, 2022 through and including May 2, 2022, without prejudice to seek further

extensions of such authority.

B.     Bankruptcy Code Sections 541 and 542

       42.     Under Bankruptcy Code section 542(a), a person “in possession, custody, or

control, during the case, of property that the trustee may use, sell, or lease under section 363 of



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this title, . . ., shall deliver to the trustee, . . ., such property . . ..” 11 U.S.C. § 542(a). Thus, “[t]o

the extent that the debtor fails to surrender property, the trustee may move under 11 U.S.C. §

542(a) to compel a turnover of that property to the estate.” In re Burgio, 441 B.R. 218, 220 (Bankr.

W.D.N.Y. 2010); see Savage & Assocs., P.C. v. Mandle (In re Teligent, Inc.), 325 B.R. 134, 137

(Bankr. S.D.N.Y. 2005) (“Under § 542 (a), the trustee may compel the turnover of property of the

estate that the trustee can use, sell or lease.”); In re Neuman, 75 B.R. 966, 968 (Bankr. S.D.N.Y.

1987) (“A Chapter 11 trustee may use Code § 542(a) to secure turnover of property of the estate

from an entity in possession, custody or control. Entity, a defined term, includes a debtor.” (citation

omitted)), aff’d, 88 B.R. 31 (S.D.N.Y. 1988); see, e.g., In re Schick, 215 B.R. at 12 (directing

debtor to turn over certain computer and information to Chapter 11 trustee).

        43.     The employees’ laptops and other related equipment are unquestionably property

of the Estate under Bankruptcy Code section 541(a). See 11 U.S.C. § 541(a)(1) (defining property

of the estate to include, among other things, “all legal and equitable interests of the debtor in

property as of commencement of the case”). Further, Bankruptcy Code section 542(a) provides

for the authority of the Court to order a turnover of property of the estate to the Trustee. 11 U.S.C.

section 542(a); In re Block 1524 Constr. Corp., 75 B.R. 276, 278 (Bankr. E.D.N.Y. 1987).

        44.     As set forth above, some, or most, of the Debtor’s laptops contained CUI, which

must be disposed of in accordance with the Department of Defense guidelines. Accordingly, the

Trustee seeks the entry of an Order directing the immediate turnover of any and all the Debtor’s

laptops in the possession, custody or control of any former employee and/or third-party.




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                              NOTICE AND NO PRIOR REQUEST

       45.        By separate application filed contemporaneously herewith under Local Rule 9077,

the Trustee will seek the entry of an Order scheduling a hearing on shortened and limited notice

of this Motion.

       46.        No previous request for the relief sought herein has been made by the Trustee to

this or any other Court.

       WHEREFORE the Trustee respectfully requests that the Court grant the relief requested

herein and such other and further relief as it deems just and proper.


Dated: February 11, 2022
       Wantagh, New York                       LaMONICA HERBST & MANISCALCO, LLP
                                               Proposed Counsel to Salvatore LaMonica, as
                                               Chapter 7 Trustee

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